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 8                          IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                     2:10-CR-00413-MCE
12                  Plaintiff,                     PRELIMINARY ORDER OF
                                                   FORFEITURE
13         v.
14   JUAN MANUEL CUEVAS,
     HUGO CHAVEZ-DELACRUZ, and
15   ARMANDO FLORES CAMPOS,
16                  Defendants.
17

18         Based upon the entry of plea and stipulation and application for preliminary

19 order of forfeiture entered into between plaintiff United States of America and

20 defendant Hugo Chavez-Delacruz it is hereby ORDERED, ADJUDGED, AND

21 DECREED as follows:

22         1.       Pursuant to 21 U.S.C. § 853(a), defendant Hugo Chavez-Delacruz’s

23 interest in the following property shall be condemned and forfeited to the United States

24 of America, to be disposed of according to law:

25                  a.     A 1999 Honda Accord, VIN: JHMCG6658XC020549, License
                           Number 6NEB931.
26

27         2.       The above-listed property was used or intended to be used to commit or to

28 facilitate the violation of 21 U.S.C. §§ 841(a)(1) and 846.
                                                 1
                                                                       Preliminary Order of Forfeiture
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 1         3.       Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be

 2 authorized to seize the above-listed property. The aforementioned property shall be

 3 seized and held by the U.S. Marshals Service, in its secure custody and control.

 4         4.       a.     Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the United

 5 States shall publish notice of the order of forfeiture. Notice of this Order and notice of

 6 the Attorney General’s (or designee’s) intent to dispose of the property in such manner

 7 as the Attorney General may direct shall be posted for at least thirty (30) consecutive

 8 days on the official internet government forfeiture site www.forfeiture.gov. The United

 9 States may also, to the extent practicable, provide direct written notice to any person

10 known to have alleged an interest in the property that is the subject of the order of

11 forfeiture as a substitute for published notice as to those persons so notified.

12                  b.     This notice shall state that any person, other than the defendant,

13 asserting a legal interest in the above-listed property, must file a petition with the

14 Court within sixty (60) days from the first day of publication of the Notice of Forfeiture

15 posted on the official government forfeiture site, or within thirty (30) days from receipt

16 of direct written notice, whichever is earlier.

17         5.       If a petition is timely filed, upon adjudication of all third-party interests, if

18 any, this Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in

19 which all interests will be addressed.

20         6.       Within sixty days from entry of a Final Order of Forfeiture forfeiting the

21 above-listed property, the U.S. Marshals Service shall return the Approximately

22 $2,741.00 in U.S. Currency, plus any accrued interest, to Hugo Chavez-Delacruz.

23
     Dated: January 23, 2013
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                                            _________________________________________
25
                                            MORRISON C. ENGLAND, JR., CHIEF JUDGE
26                                          UNITED STATES DISTRICT COURT
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                                                                            Preliminary Order of Forfeiture
